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 9
10                                UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12                                     SOUTHERN DIVISION
13 GLAUKOS CORPORATION,                         Case No. __________________
14                   Plaintiff,                 COMPLAINT FOR:
15             vs.                              1. DEFEND TRADE SECRETS ACT
                                                2. CALIFORNIA UNIFORM TRADE
16 JACQUELINE BAILEY,                           SECRETS ACT
                                                3. BREACH OF CONFIDENTIAL
17                   Defendant.                 INFORMATION AGREEMENT
                                                4. BREACH OF FIDUCIARY DUTIES
18                                              & DUTY OF LOYALTY
                                                5. UNFAIR COMPETITION LAW
19                                              (CALIFORNIA BUSINESS &
                                                PROFESSIONS CODE § 17200)
20
21                                              DEMAND FOR JURY TRIAL
22
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 1             Plaintiff Glaukos Corporation (“Glaukos”) brings this action against Defendant
 2 Jacqueline Bailey (“Defendant”) for theft of trade secrets, breach of the parties’
 3 Confidential Information Agreement, and additional violations of state law.
 4 I.          INTRODUCTION
 5             1.      Defendant is a former Glaukos sales representative who left on
 6 August 31, 2016 to work for Glaukos’s primary competitor, Alcon Laboratories, Inc.
 7 (“Alcon”). In the weeks preceding her departure, Defendant systematically identified,
 8 accessed, and collected Glaukos’s confidential information and trade secrets relevant
 9 to, and for use at, her new job with Alcon. When possible, she forwarded these
10 materials to her personal email account. When Glaukos’s security measures prevented
11 her from downloading, printing, or forwarding electronic copies of Glaukos’s
12 confidential materials, Defendant took pictures of the materials displayed on a
13 computer monitor with her phone and forwarded those pictures to her personal email
14 account.
15             2.      Since Defendant’s departure, forensic analysts have determined that
16 Defendant improperly accessed, copied, or otherwise collected at least the following
17 types of Glaukos confidential information and trade secrets:
18                   Glaukos’s customer lists for the Southeast region, including detailed
                      product purchase information such as quantities and revenues for over
19                    100 customers;
20                   Glaukos’s business plans for the Southeast region, including detailed
                      information about potential customers to target and an analysis of
21                    Glaukos’s near-term business risks;
22                   Glaukos’s presentations and written plans for its competitive strategies,
                      including strategies for competing with the very company that Defendant
23                    now works for;
24                   Glaukos’s strategies regarding sales and marketing of products to
                      teaching institutions, and confidential analysis of potential competition
25                    over such customers;
26                   Customer preferences and information regarding contracts and device
                      reimbursements for Glaukos’s products;
27
                     Directions from sales directors on how to communicate with Glaukos
28                    customers about specific issues those customers may encounter when
                      using Glaukos products during surgery; and
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 1                   Training examinations that Glaukos developed in order to train its
                      employees and confirm that the employees were educated about critical
 2                    issues relating to Glaukos’s products before interacting with customers.
                      Glaukos marked these training examinations as “FOR INTERNAL USE
 3                    ONLY.”
 4             3.      Although Defendant was obligated to protect Glaukos’s confidential
 5 information and trade secrets during and after her employment with Glaukos and to
 6 “surrender” all such materials in her possession upon leaving the Company, she has
 7 refused to do so. Instead, she has resorted to lies and misdirection to conceal the scope
 8 of her theft. During her formal exit process on the day of her resignation, Defendant
 9 denied having any of Glaukos’s highly confidential information or trade secrets in her
10 possession and certified that representation in writing. Later, when computer forensic
11 analysts discovered Defendant’s theft and the falsity of her certification, Glaukos
12 contacted Defendant to request an explanation for her suspicious electronic activity in
13 the weeks preceding her departure and the immediate return of all Glaukos materials.
14 Defendant refused to acknowledge her misdeeds. Other than admitting that she still
15 possessed the personal USB device that she plugged into her Glaukos computer, she
16 has ignored Glaukos’s requests. In fact, although she promised to return the personal
17 USB device, she has yet to do so.
18             4.      Defendant’s misappropriation of Glaukos’s confidential information and
19 trade secrets in an effort to benefit her new employer, Alcon, began before she even
20 left Glaukos. On the same day she gave her two-week notice, Defendant sent an email
21 to numerous Glaukos customers (but not Glaukos personnel) announcing her decision
22 to leave Glaukos and join its competitor. She communicated with several of these
23 customers about her new position at Alcon using her Glaukos corporate email account,
24 and in at least one instance, forwarded her communications with Glaukos customers
25 to her new bosses at Alcon.
26             5.      Glaukos seeks to prevent any additional immediate and irreparable
27 damage through Defendant’s unauthorized disclosure and use of Glaukos’s
28 confidential information and trade secrets. The files that Defendant has stolen contain
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 1 detailed, proprietary information concerning customer lists and purchase information,
 2 how Glaukos trains its sales force, communications with customers on product use and
 3 pricing, and Glaukos’s overall business strategy for competing with the very company
 4 that Defendant now works for. In short, Defendant possesses stolen information that
 5 will give her new employer (and any other company) an unfair, unearned competitive
 6 advantage over Glaukos and insights into its sales, marketing, and training strategies.
 7 Defendant must be prevented from sharing this valuable, confidential information.
 8 II.         PARTIES
 9             6.   Plaintiff Glaukos is a corporation organized and existing under the laws
10 of the State of Delaware, having a principal place of business at 229 Avenida
11 Fabricante, San Clemente, California 92672.
12             7.   On information and belief, Defendant Jacqueline Bailey is an individual
13 that resides in the State of Georgia. Her last known address is 8885 Maple Run Trail,
14 Gainesville, Georgia 30506. From October 2015 until August 31, 2016, Defendant
15 was employed as a Senior Regional Business Manager at Glaukos.
16             8.   On information and belief, Defendant is currently the National Training
17 and Key Opinion Leader (“KOL”) Manager for Alcon Laboratories, Inc., one of the
18 main competitors for Glaukos.          Upon information and belief, Defendant will be
19 responsible for training and preparing Alcon personnel to be technical product experts,
20 including on the science and technology behind the relevant components of surgical
21 glaucoma and the CyPass® Micro-Stent, Alcon’s competing device; developing and
22 providing training and staff development programs for Alcon sales representatives;
23 and coaching Alcon personnel on selling in various environments.
24 III.        JURISDICTION AND VENUE
25             9.   This Court has original jurisdiction of this action pursuant to the Defend
26 Trade Secrets Act, 18 U.S.C. § 1836(c) and 28 U.S.C. § 1331. This Court also has
27 supplemental jurisdiction over the remaining state law claims asserted herein pursuant
28 to 28 U.S.C. § 1367. Further, this Court has diversity jurisdiction over this action
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 1 under 28 U.S.C § 1332 because there is complete diversity and the amount in
 2 controversy exceeds $75,000, exclusive of interest and costs.
 3             10.   Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of
 4 the events or omissions giving rise to the claims occurred, and a substantial part of the
 5 property and confidential information that is the subject of this action is situated, in
 6 Orange County, California.           Additionally, venue is proper under the parties’
 7 Confidential Information Agreement, which permits the matter be filed in California.
 8 IV.         BACKGROUND
 9             A.    Glaukos’s Business of Transforming Glaucoma Treatments
10             11.   Glaukos is an ophthalmic medical technology company focused on the
11 development and commercialization of breakthrough products and procedures
12 designed to transform the treatment of glaucoma, one of the world’s leading causes of
13 blindness. Glaukos pioneered the Micro-Invasive Glaucoma Surgery (“MIGS”) to
14 revolutionize the traditional glaucoma treatment and management paradigm.
15             12.   Glaukos launched the iStent® Trabecular Micro-Bypass Implant, its first
16 MIGS device, in the United States in July 2012. The iStent® is the smallest medical
17 device ever approved by the Food and Drug Administration, measuring 1.0 mm long
18 and 0.33 mm wide. Glaukos continues to leverage its platform technology in the
19 iStent® to build a comprehensive and proprietary portfolio of micro-scale injectable
20 therapies designed to address the complete range of glaucoma disease states and
21 progression.
22             13.   Glaucoma is a group of eye diseases characterized by progressive,
23 irreversible and largely asymptomatic vision loss caused by optic nerve damage, which
24 is most commonly associated with elevated levels of pressure within the eye, or
25 intraocular pressure. Elevated intraocular pressure often occurs when aqueous humor,
26 the thin watery fluid that fills the front part of the eye, is not circulating normally
27 and/or draining properly. Glaucoma is a chronic condition that progresses slowly and
28 can have a devastating impact on a patient’s vision and quality of life.
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 1             14.   Reducing intraocular pressure is the only proven treatment for glaucoma.
 2 Glaucoma has traditionally been treated through a range of approaches that often
 3 require patients to use prescription eye drops for the rest of their lives, and sometimes
 4 undergo complex and invasive eye surgery. Unfortunately, these medications can be
 5 ineffective over time due to patient noncompliance and other factors. Complex and
 6 invasive glaucoma surgical options are typically reserved for more advanced stages of
 7 the disease and have remained largely unchanged since the 1970’s.
 8             15.   Glaukos developed MIGS to address the shortcomings of current
 9 glaucoma treatment options. MIGS procedures involve the insertion of a micro-scale
10 device from within the eye’s anterior chamber through a small corneal incision. MIGS
11 devices reduce intraocular pressure by restoring the natural outflow pathways for
12 aqueous humor. Based on clinical studies and reports, MIGS procedures are safer,
13 preserve more eye tissue, and result in faster recovery times and fewer complications
14 than invasive glaucoma surgical options.
15             16.   The iStent® is the first commercially-available MIGS treatment solution.
16 The iStent® received FDA approval for insertion in combination with cataract surgery,
17 and based on clinical reports and studies, the iStent® has been shown to lower
18 intraocular pressure in patients with mild-to-moderate open-angle glaucoma, which
19 represents the majority of glaucoma cases in adult patients. Prior to July 2016, the
20 iStent® was the only FDA-approved MIGS device for the treatment of mild to
21 moderate open-angle glaucoma.
22             17.   Upon information and belief, on July 29, 2016, Alcon received FDA
23 approval for the CyPass® Micro-Stent. The CyPass® Micro-Stent will be only the
24 second MIGS device offered for sale in the United States, and once released, will
25 compete directly with Glaukos’s iStent®. Like the iStent®, the CyPass® Micro-Stent
26 is designed to treat patients with mild to moderate primary open-angle glaucoma in
27 conjunction with cataract surgery.
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 1             B.    Glaukos’s Sales Organization and Marketing Efforts
 2             18.   Since the introduction of the iStent® in July 2012, Glaukos has built and
 3 grown its commercial organization, which includes a direct sales force in the United
 4 States and Germany, and distribution partners in Europe, Asia Pacific, Canada, and
 5 other targeted international geographies.
 6             19.   In the United States, Glaukos sells its products—including the iStent®—
 7 through a direct sales organization consisting of over 50 sales professionals, including
 8 regional business managers, sales directors, clinical relations personnel and
 9 reimbursement specialists. Members of Glaukos’s sales organization are primarily
10 responsible for, among other things, training ophthalmic surgeons on the iStent®
11 procedure; helping these physicians integrate the technology into their practices; and
12 providing resources to support reimbursement, while also identifying and supporting
13 investigational sites for clinical trials of our pipeline technologies.
14             20.   To ensure that its sales professionals are experienced with ophthalmic
15 medical technologies, Glaukos invests significant time and expense to provide
16 comprehensive training to its sales professionals.          Members of Glaukos’s sales
17 organization are required to be proficient in all aspects of its iStent® technologies,
18 including features and benefits, procedure techniques and reimbursement. Glaukos
19 also provides its sales professions with continuing technical education regarding the
20 eye’s anatomy, glaucoma diagnosis, disease states and treatment, and surgery.
21             21.   Currently, Glaukos’s sales efforts are largely aimed at ophthalmic
22 surgeons and other eye care professionals. Glaukos’s primary customers include
23 ophthalmic surgeons, hospitals, and ambulatory surgery centers.
24             C.    Defendant’s Role and Responsibilities at Glaukos
25             22.   On October 5, 2015, Defendant joined Glaukos as a Senior Regional
26 Business Manager. In her role, Defendant was responsible for, among other things,
27 marketing, selling, and training ophthalmic surgeons on the iStent® procedure in the
28 Southeastern United States; helping these physicians integrate the technology into
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 1 their practices; and providing resources to support reimbursement.
 2             23.   During the course of her employment, Defendant had regular access to
 3 Glaukos’s confidential sales and marketing information, such as customer lists,
 4 customer purchasing history, product pricing and use guidelines, sales force training
 5 materials, and business plans for competing with other participants in the global
 6 glaucoma-treatment market, including Defendant’s new employer, Alcon.
 7             24.   Much of Defendant’s access to sensitive Glaukos information was the
 8 result of her having access to the “Glaukos Connect” system, which is a secure, online
 9 platform by which Glaukos employees can view confidential training materials.
10 Defendant also had access to other sources of confidential information at Glaukos,
11 including live online presentations, known as webinars, for Glaukos’s sales team.
12             25.   Glaukos also provided comprehensive and regular training to her—as
13 well as the other sales professionals—to ensure that they were proficient and
14 knowledgeable about           Glaukos’s iStent®, including its features and benefits,
15 procedure techniques, and Glaukos’s customer and marketing strategy.               Such
16 information is highly sensitive and kept confidential in the course of business, and as
17 a result, provides Glaukos with a competitive advantage over other participants in the
18 global glaucoma-treatment market.
19 V.          GLAUKOS GUARDS AGAINST DISCLOSURE OF ITS TRADE
20             SECRETS AND CONFIDENTIAL INFORMATION
21             26.   In order to maintain its competitive advantage, Glaukos maintains and
22 keeps secret all information regarding its business plans, strategies regarding sales and
23 marketing of product, customer lists, training materials, and related technical
24 documents.         Glaukos does this by maintaining the security—both physical and
25 electronic—of its premises and information technology systems.
26             27.   Glaukos places highly sensitive information on the “Glaukos Connect”
27 system, which is a secure, online platform by which Glaukos employees can view
28 confidential training materials. The Glaukos Connect system is a main repository of
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 1 Glaukos’s trade secrets. Access to the Glaukos Connect system requires specific login
 2 credentials, which are provided to only certain users. And even when access is
 3 provided, it is limited based on the type of user. To further protect the information
 4 contained on the Glaukos Connect system, there are information technology
 5 restrictions that are designed to prevent employees from downloading, copying, and/or
 6 emailing contents of documents contained on the system. Because the Glaukos
 7 Connect system contains confidential information about Glaukos products and product
 8 messaging, it has great value to potential competitors.
 9             28.   Likewise, Glaukos restricts the disclosure of certain highly sensitive
10 information to secure online presentations, known as webinars. Rather than leaving
11 this information on electronic repositories, Glaukos provides confidential information
12 via access to secure, invitation-only online presentations. This allows the presentation
13 organizers to monitor viewing activity and prevent downloading or copying of the
14 contents. Such webinars have great value to a potential competitor.
15             A.    To Protect Its Confidential Information, Glaukos Requires Its
16                   Employees to Agree to Rigorous Confidentiality Protections
17             29.   Upon being hired at Glaukos, all employees are required to execute
18 confidentiality agreements, referred to as the Confidential Information Agreement for
19 Employees of Glaukos Corporation (the “Confidential Information Agreement”). The
20 Confidential Information Agreement sets forth an employee’s obligations with respect
21 to, among other things, the property of Glaukos and the appropriate treatment of
22 Glaukos’s confidential information.
23             30.   On October 8, 2015, Defendant executed her Confidential Information
24 Agreement with Glaukos, a copy of which is attached hereto as Exhibit 1. Under the
25 Confidential Information Agreement, Defendant agreed and/or acknowledged:
26             I will not, without the prior written consent of (i) an officer of the
               Company, in the event that I am not an executive officer of the Company,
27             and (ii) the Board of Directors of the Company, in the event that I am an
               executive officer of the Company, divulge to unauthorized persons, or
28             use for any unauthorized purpose, either during or after the term of my
               employment, any information, matter, or thing of a secret, confidential
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  1             or private nature (“Confidential Information”) connected with the
                business of the Company or any of its suppliers or customers. Included
  2             within the meaning of Confidential Information are matters of a technical
                nature (including Inventions, know-how, formulae, computer programs,
  3             software and documentation, secret processes or machines, and research
                projects), matters of a business nature (such as information about costs,
  4             profits, markets, sales, customers, potential customers, suppliers and
                employees), plans for further development, and any other information
  5             of a similar nature not available to the public.
  6 (Exhibit 1, Confidential Information Agreement, § 3 (emphasis added).)
  7             31.   Likewise, to secure Glaukos’s confidential information and other
  8 property from competitors, Glaukos required that the Defendant agree, as a condition
  9 of her employment, that she will not “directly or indirectly participate in, be employed
 10 by, consult for or assist any business which is a current or potential supplier, customer
 11 or competitor of the Company.” (Id. § 1.)
 12             32.   Further, to ensure that departing employees do not take Glaukos’s
 13 confidential information with them to their new employer, the Confidential
 14 Information Agreement specifies that:
 15             PROPERTY OF THE COMPANY. All notes, memoranda, reports,
                drawings, blueprints, manuals, materials, data and other papers and
 16             records of every kind which shall come into my possession at any time
                after the commencement of my employment with the Company, relating
 17             to any Inventions or Confidential Information shall be the sole and
                exclusive property of the Company. This property shall be surrendered
 18             to the Company upon termination of my employment with the
                Company, or upon request by the Company, at any other time either
 19             during or after the termination of such employment.
 20 (Exhibit 1, Confidential Information Agreement, § 4 (emphasis added).)
 21             33.   Glaukos has also taken steps to preserve its rights in the event that an
 22 employee misappropriates its confidential information. As part of the Confidential
 23 Information Agreement, Defendant acknowledged Glaukos’s right to pursue any legal
 24 remedies necessary to avoid any irreparable harm that results from her breach:
 25             [T]he Company will suffer substantial damages not readily ascertainable
                or compensable in terms of money in the event of the breach of any of my
 26             obligations under this Agreement. I therefore agree that the Company
                shall be entitled (without limitation of any other rights or remedies
 27             otherwise available to the Company) to obtain an injunction from any
                court of competent jurisdiction prohibiting the continuance or recurrence
 28             of any breach of this Agreement. I hereby submit myself to the
                jurisdiction and venue of the courts of the State of California for purposes
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  1             of any such action. I further agree that service upon me in any such action
                or proceeding may be made by first class mail, certified or registered, to
  2             my address as last appearing on the records of the Company.
  3 (Exhibit 1, Confidential Information Agreement, § 5.3.)
  4             34.   Glaukos also provides its employees with          detailed confidentiality
  5 policies set forth in Glaukos’s Code of Business Conduct & Ethics (“Glaukos Code”),
  6 a copy of which is attached hereto as Exhibit 2. The Glaukos Code contains mandatory
  7 guidelines for the conduct of all employees. Each new hire is provided with a copy of
  8 the Glaukos Code, and as part of the initial training process, new hires are instructed
  9 to review it carefully and to be knowledgeable about its terms.
 10             35.   Defendant received, reviewed, and certified her compliance with the
 11 Glaukos Code on October 8, 2015, a copy of which is attached hereto as Exhibit 3.
 12             36.   Given that Glaukos employees may have access to sensitive and
 13 proprietary information during the course of their employment, the Glaukos Code
 14 defines the scope of “confidential information” at Glaukos and its meaning. The
 15 Glaukos Code provides that “[c]onfidential information includes all nonpublic
 16 information that might be of use to competitors, or, if disclosed, harmful to the
 17 Company or its customers or suppliers.” (Exhibit 2, Glaukos Code at 4.)
 18             37.   The Glaukos Code acknowledges that “[e]mployees and directors have a
 19 duty to safeguard all confidential information of the Company[.]” (Id.) To reiterate
 20 that obligation, including the duty to maintain confidentiality even after departing
 21 Glaukos, the Glaukos Code provides that:
 22             Unauthorized disclosure of any confidential information is prohibited.
                Additionally, employees and directors should take appropriate
 23             precautions to ensure that confidential or sensitive business information,
                whether it is proprietary to the Company or another company, is not
 24             communicated within the Company except to employees and directors
                who have a need to know such information to perform their
 25             responsibilities for the Company. An employee’s and director’s
                obligation to protect confidential information continues after he or she
 26             leaves the Company. Unauthorized disclosure of confidential information
                could cause competitive harm to the Company or its customers or
 27             suppliers and could result in legal liability to you and the Company.
 28 (Exhibit 2, Glaukos Code at 4 (emphasis added).)
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  1             B.    Defendant Signs Glaukos’s Separation Certification, Which
  2                   Reiterates the Importance of Maintaining Confidentiality
  3             38.   After Defendant’s resignation on August 31, 2016, she underwent a
  4 formal exit process with Cheri Shelton at Glaukos. As part of that exit process,
  5 Glaukos explained and Defendant signed a Separation Certification, a copy of which
  6 is attached hereto as Exhibit 4.
  7             39.   The Separation Certification sets forth additional obligations with respect
  8 to the property of Glaukos and the appropriate treatment of Glaukos’s confidential
  9 information. Beyond Defendant’s acknowledgement that she “complied with all terms
 10 of the Company’s Confidential Information Agreement,” Defendant affirmatively
 11 attested to the following:
 12             This is to certify that I do not have in my possession, nor have I failed
                to return, any devices, records, data, notes, reports, proposals, lists,
 13
                computer files in any format or media, correspondence, specifications,
 14             drawings, blueprints, sketches, materials, equipment, other documents or
                property, or reproductions of any aforementioned items belonging to
 15
                Glaukos Corporation, its subsidiaries, affiliates, successors or assigns
 16             (together, “the Company”). I further agree that, in compliance with the
                Agreement, I will preserve as confidential all trade secrets, confidential
 17
                knowledge, data or other proprietary information relating to products,
 18             processes, know-how, designs, formulas, developmental or experimental
                work, computer programs, databases, other original works of authorship,
 19
                customer lists, business plans, financial information or other subject
 20             matter pertaining to any business of the Company or any of its clients,
                consultants or licenses.
 21
 22 (Exhibit 4, Separation Certification at 1 (emphasis added).)
 23 VI.         DEFENDANT STEALS GLAUKOS’S TRADE SECRETS AND
 24             CONFIDENTIAL INFORMATION FOR USE AT A COMPETITOR
 25             40.   In the two months before Defendant resigned from Glaukos to work for
 26 Glaukos’s competitor, Alcon, she engaged in a careful scheme to steal trade secrets
 27 from Glaukos for use after her exit.
 28             41.    Upon information and belief, Defendant began looking for a new and
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  1 similar position at one of Glaukos’s competitor in or around June 2016.
  2             42.      Upon information and belief, Defendant sent information about potential
  3 employment opportunities to herself through her own Glaukos corporate email account
  4 and used company property, relationships, and contacts in pursuit of those positions.
  5             43.      Upon information and belief, Defendant sought letters of reference
  6 and/or recommendations from Glaukos’s customers, including surgeons and other
  7 medical professionals that Defendant met through her employment at Glaukos. Upon
  8 information and belief, the purpose of such letters of reference and/or
  9 recommendations were to aid Defendant in her pursuit of new employment at a
 10 competitor of Glaukos.
 11             44.      During the weeks before Defendant’s departure from Glaukos, Defendant
 12 engaged in purposeful and clandestine efforts to access, copy, and steal Glaukos’s
 13 trade secrets and confidential information. Among other things, Defendant improperly
 14 forwarded confidential information, including customer lists, business plans, and
 15 presentations, to her personal email account. When Defendant was stonewalled by
 16 Glaukos’s security measures, she surreptitiously took photos with her personal phone
 17 of sensitive training materials and confidential presentations and emailed copies of the
 18 photos to her personal email account.
 19             45.      Even though Glaukos is still determining the precise scope of Defendant’s
 20 theft, the initial forensic examination shows that Defendant improperly accessed,
 21 copied, or otherwise stole the following types of Glaukos’s trade secret and
 22 confidential information prior to her departure:
 23                    Glaukos’s customer lists for the Southeast region, including detailed
                        product purchase information such as quantities and revenues for over
 24                     100 customers;
 25                    Glaukos’s business plans for the Southeast region, including detailed
                        information about potential customers to target and an analysis of
 26                     Glaukos’s near-term business risks;
 27                    Glaukos’s presentations and written plans for its competitive strategies,
                        including strategies for competing with the very company that Defendant
 28                     now works for;
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  1                    Glaukos’s strategies regarding sales and marketing of products to
                        teaching institutions, and confidential analysis of potential competition
  2                     over such customers;
  3                    Customer preferences and information regarding contracts and device
                        reimbursements for Glaukos’s products;
  4
                       Directions from sales directors on how to communicate with Glaukos
  5                     customers about specific issues those customers may encounter when
                        using Glaukos products during surgery; and
  6
                       Training examinations that Glaukos developed in order to train its
  7                     employees and confirm that the employees were educated about critical
                        issues relating to Glaukos’s products before interacting with customers.
  8                     The examinations are marked “FOR INTERNAL USE ONLY.”
  9             46.      Glaukos kept these documents, lists, business strategies, and training
 10 materials confidential and took reasonable steps to keep the information confidential
 11 by limiting its dissemination to only those who needed access as a part of their
 12 employment. This information derived value from its secrecy.
 13             47.      Upon information and belief, the Glaukos confidential information and
 14 trade secrets that Defendant stole are useful to her because Defendant’s role at her new
 15 employer, Alcon, is similar to her role at Glaukos and she is responsible for training
 16 the Alcon sales team that markets, sells, and instructs doctors on the use of Alcon’s
 17 CyPass® Micro-Stent.
 18             48.      Upon information and belief, Defendant attempted to conceal these
 19 wrongful acts by purging and deleting electronic evidence from her Glaukos corporate
 20 email account.
 21             49.      Defendant continued to engage in suspicious activity in the days before
 22 her departure from Glaukos.
 23             50.      On August 18, 2016, Defendant contacted Glaukos’s help desk—
 24 managed by Alwaka Networks—for, upon information and belief, guidance on how to
 25 permanently remove items from her Glaukos corporate email account. That same
 26 morning, Defendant sent highly-sensitive and confidential Glaukos materials
 27 concerning the CyPass® Micro-Stent—her new employer’s device that competes with
 28 the iStent®—from her Glaukos corporate email account to her personal email account.
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  1 Though not an exhaustive list, Defendant sent Glaukos confidential documents
  2 regarding the CyPass® Micro-Stent, including documents titled:
  3                    “Transcend Medical CyPass Micro-Stent”;
  4                    “GSM Combined, Selling the Science and Competition”;
  5                    “Competitive Response Attorney Client Privileged 02.23.16”; and
  6                    “Key Messages.”
  7             51.      On August 18, 2016, upon information and belief, Defendant accessed
  8 and/or logged into her DropBox account with her Glaukos computer.
  9             52.      On August 27 2016, Defendant connected a personal USB device—a
 10 Lexar USB flash drive, Serial number AAKY0TB3EHC6UQSO—to her company
 11 computer. Based on a forensic examination, this was the first time this personal USB
 12 device was ever connected to Defendant’s company computer. Defendant was not
 13 given permission or written authorization from Glaukos to connect the personal USB
 14 device. Upon information and belief, Defendant took the personal USB device with
 15 her when she left Glaukos on August 31, 2016.
 16             53.      On August 29, 2016, Defendant deleted over 250 files from folders on
 17 her company computer between 5:32 p.m. and 5:34 p.m. Eastern Standard Time.
 18             54.      On August 30, 2016, the night before Defendant informed Glaukos of her
 19 resignation, Defendant logged into the “Glaukos Connect” system for the first time in
 20 over a month. Defendant opened dozens of files concerning Glaukos’s products,
 21 customers, business strategies, and confidential messaging for products offered by
 22 competitors, including the very product offered by Defendant’s new employer. The
 23 next morning—after giving Glaukos formal notice of her resignation—Defendant
 24 continued her attempts to view highly-sensitive information on the Glaukos Connect
 25 system, including a newly-published whitepaper that discussed Glaukos’s business
 26 plans and strategies for competing with Defendant’s new employer and its product.
 27 Fortunately, before Defendant was able to review this whitepaper, Glaukos discovered
 28 that she was leaving for Alcon and promptly disabled her access to the system.
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  1             55.   Upon information and belief, all these materials were in Defendant’s
  2 possession, custody, or control on the very day—August 31, 2016—that she certified
  3 in writing that she did “not have in my possession, nor have I failed to return, any
  4 devices, records, data, notes, reports, proposals, lists, computer files in any format
  5 or media, correspondence, . . . or reproductions of any aforementioned items
  6 belonging to Glaukos Corporation . . . .” (Exhibit 3, Separation Certification at 1
  7 (emphasis added).)          Upon information and belief, these materials remain in
  8 Defendant’s possession, custody, and control even today.
  9             56.   Instead of surrendering all such information to Glaukos when her
 10 employment ended, as required by the Confidential Information Agreement, the
 11 Glaukos Code, and as she certified she had done in her Separation Certification,
 12 Defendant did the opposite. Forensic evidence confirms that Defendant improperly
 13 forwarded confidential information, including customer lists, business plans, and
 14 presentations, to her personal email account; Defendant surreptitiously took photos
 15 with her personal phone of sensitive training materials and confidential presentations
 16 and emailed copies of the photos to her personal email account; and Defendant
 17 continued to engage in suspicious activity in the days before her departure.
 18             A.    Before Leaving Glaukos, Defendant Solicits Glaukos’s Customers
 19                   for Her New Employer, Alcon
 20             57.   On the same day that Defendant announced her resignation from Glaukos,
 21 and within one hour of providing notice to Glaukos, Defendant sent an email—from
 22 her Glaukos corporate email account—to 78 Glaukos customers and contacts
 23 announcing her decision to leave Glaukos and join its competitor. Defendant’s email
 24 explained that she would be taking a national leadership role to help launch a product
 25 that competes with Glaukos’s flagship glaucoma-treatment product, the iStent®. The
 26 email also contained her personal contact information and invited recipients to “reach
 27 out anytime.” Glaukos personnel were not recipients of this email, Glaukos did not
 28 authorize it, and Glaukos was unaware of it until after Defendant left Glaukos and a
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  1 forensic examination was performed.
  2             58.   In sending this email, Defendant improperly used Glaukos’s property and
  3 her access to Glaukos’s customers and contacts to solicit business away from Glaukos
  4 (and direct it to her new employer), while she was still employed at Glaukos. Upon
  5 information and belief, Defendant’s purposeful choice to exclude any Glaukos
  6 personnel from her email suggests that Defendant knew this solicitation was
  7 prohibited, and would have been problematic for her if discovered.
  8             59.   Several Glaukos customers responded to Defendant’s resignation email
  9 and expressed a desire to keep in touch as she transitioned to her new role at Glaukos’s
 10 competitor, Alcon. Upon information and belief, several other Glaukos customers
 11 called or texted Defendant in response to her resignation email.
 12             60.   In at least one instance, a customer responded by email to say that he
 13 looked forward to working with Defendant at Alcon, and Defendant then forwarded
 14 that response from her Glaukos corporate email account directly to two high-ranking
 15 employees of Alcon, the competitor for which Defendant now works.
 16             61.   In the email to her new bosses, Defendant celebrated the numerous
 17 responses that she got to her departure email, all of which were ill-gotten.
 18             B.    Defendant Lies to Conceal Her Theft of Confidential Information
 19                   and Ignores Glaukos’s Resolution Efforts
 20             62.   Upon leaving Glaukos, Defendant participated in a formal exit process
 21 and executed the Separation Certification, certifying, among other things, that she had
 22 surrendered any and all Glaukos property, including Glaukos’s confidential
 23 information and its tangible property. Defendant’s representations were false.
 24             63.   Glaukos has made numerous efforts to work with Defendant informally
 25 to resolve this dispute. Starting in September 2016, immediately after learning of
 26 Defendant’s theft of Glaukos’s confidential information and trade secrets, Glaukos
 27 contacted Defendant to demand that she return all Glaukos materials in her possession,
 28 custody, or control; return the USB drive so Glaukos could evaluate it; confirm
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  1 compliance with her contractual and legal obligations to Glaukos; and inform Glaukos
  2 of what use she had made of the stolen information. As of the date of this Complaint,
  3 Defendant has still not fully responded to Glaukos’s repeated requests. In fact,
  4 Defendant has provided no response at all to Glaukos’s second letter, sent on
  5 September 27, 2016.
  6                                 FIRST CAUSE OF ACTION
  7               (Misappropriation of Trade Secrets – 18 U.S.C. §§ 1836, et seq.)
  8             64.   Glaukos repeats, re-alleges, and incorporates by reference each of the
  9 allegations of paragraphs 1 to 60 as if set forth fully herein.
 10             65.   Defendant’s conduct, set forth in the paragraphs above, constitutes one or
 11 more acts of actual or threatened misappropriation of trade secrets within the meaning
 12 of the Defend Trade Secrets Act, 18 U.S.C. §§ 1836, et seq.
 13             66.   Glaukos’s confidential, proprietary, and competitively sensitive data
 14 acquired by Defendant constitutes trade secrets under 18 U.S.C. §§ 1839(3)(a)–(b).
 15 This information qualifies as a trade secret because Glaukos derives independent
 16 economic value from its not being generally known to the public or to other persons
 17 who can obtain economic value from its disclosure or use. Further, the information
 18 acquired by Defendant is a trade secret because Glaukos treats it, and has taken
 19 reasonable efforts to keep it, as such.
 20             67.   Without Glaukos’s consent, upon information and belief, Defendant
 21 knowingly acquired, disclosed, and/or used Glaukos’s trade secrets, or threatened to
 22 acquire, disclose, and/or use Glaukos’s trade secrets. Defendant did this through
 23 improper means.
 24             68.   The improper means used by Defendant to acquire Glaukos’s trade
 25 secrets include: breaching specific provisions of the Confidential Information
 26 Agreement that Defendant signed; sending Glaukos documents embodying or
 27 describing trade secrets to her personal email, storage devices, and/or private
 28 computers for use at a competitor; and attempting to cover up the taking of these trade
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  1 secrets by deleting and/or hiding electronic traces of their theft.
  2             69.   In addition to acquiring these secrets improperly, upon information and
  3 belief Defendant has already, or soon will, misappropriate these secrets by disclosing
  4 them to Alcon, an economic adversary of Glaukos’s. Defendant abandoned her
  5 position at Glaukos for a position at Alcon, a company that seeks to establish itself as
  6 one of Glaukos’s competitors. Defendant’s disclosure or use of Glaukos’s trade
  7 secrets in her new position at Alcon threatens Glaukos with economic injury, as Alcon
  8 will then have access to trade secrets that otherwise provide Glaukos with a
  9 competitive advantage over its competitors.
 10             70.   Glaukos is entitled to an injunction based on both actual and threatened
 11 misappropriation as set forth in 18 U.S.C. § 1836(b)(3).
 12             71.   Glaukos also requests that the Court take affirmative acts to protect its
 13 trade secrets, as set forth in 18 U.S.C. § 1836(b)(3), including by ordering, among
 14 other things, the inspection of Defendant’s computers, personal USB devices, email
 15 accounts, “cloud”-based storage accounts, and other sources and equipment by a
 16 forensics expert to determine whether Glaukos trade secrets were wrongfully taken
 17 and/or disseminated to others, and to ensure that no Glaukos trade secrets remain saved
 18 on those systems; and issuing a writ of possession, a preliminary injunction and a
 19 permanent injunction ordering the return of Glaukos’s trade secret information.
 20             72.   In addition to equitable relief, Glaukos demands monetary damages, fees
 21 and costs, where allowed.
 22             73.   Defendant’s conduct, as alleged herein, was willful, malicious and
 23 wanton, and undertaken for the purpose of causing injury to Glaukos. As a result,
 24 Glaukos seeks exemplary and punitive damages against Defendant.
 25                               SECOND CAUSE OF ACTION
 26             (Misappropriation of Trade Secrets – Cal. Civ. Code §§ 3426, et seq.)
 27             74.   Glaukos repeats, re-alleges, and incorporates by reference each of the
 28 allegations of paragraphs 1 to 60 as if set forth fully herein.
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  1             75.   Defendant’s conduct, set forth in the paragraphs above, constitutes one or
  2 more acts of actual or threatened misappropriation of trade secrets within the meaning
  3 of the Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426, et seq.
  4             76.   Glaukos’s confidential, proprietary, and competitively sensitive data
  5 acquired by Defendant constitutes trade secrets under Cal. Civ. Code § 3426.1. This
  6 information qualifies as a trade secret because Glaukos derives independent economic
  7 value from its not being generally known to the public or to other persons who can
  8 obtain economic value from its disclosure or use. Further, the information acquired
  9 by Defendant is a trade secret because Glaukos treats it, and has taken reasonable
 10 efforts to keep it, as such.
 11             77.   Without Glaukos’s consent, Defendant knowingly acquired, disclosed,
 12 and/or used Glaukos’s trade secrets, or threatened to acquire, disclose, and/or use
 13 Glaukos’s trade secrets. Defendant did this through improper means.
 14             78.   The improper means used by Defendant to acquire Glaukos’s trade
 15 secrets include: breaching specific provisions of the Confidential Information
 16 Agreement that Defendant signed; sending Glaukos documents embodying or
 17 describing trade secrets to her personal email, storage devices, and/or private
 18 computers for use at a competitor; and attempting to cover up the taking of these trade
 19 secrets by deleting and/or hiding electronic traces of their theft.
 20             79.   In addition to acquiring these secrets improperly, upon information and
 21 belief Defendant has already, or soon will, misappropriate these secrets by disclosing
 22 them to Alcon, an economic adversary of Glaukos’s. Defendant abandoned her
 23 position at Glaukos for a position at Alcon, a company that seeks to establish itself as
 24 one of Glaukos’s competitors. Defendant’s disclosure or use of Glaukos’s trade
 25 secrets in her new position at Alcon threatens Glaukos with economic injury, as Alcon
 26 will then have access to trade secrets that otherwise provide Glaukos with a
 27 competitive advantage over its competitors.
 28             80.   Glaukos is entitled to an injunction based on both actual and threatened
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  1 misappropriation as set forth in Cal. Civ. Code § 3426.2(a).
  2             81.   Glaukos also requests that the Court take affirmative acts to protect its
  3 trade secrets, as set forth in Cal. Civ. Code § 3426.2(c), including by ordering, among
  4 other things, the inspection of Defendant’s computers, personal USB devices, email
  5 accounts, “cloud”-based storage accounts, and other sources and equipment by a
  6 forensics expert to determine whether Glaukos trade secrets were wrongfully taken
  7 and/or disseminated to others, and to ensure that no Glaukos trade secrets remain saved
  8 on those systems; and issuing a writ of possession, a preliminary injunction and a
  9 permanent injunction ordering the return of Glaukos’s trade secret information.
 10             82.   In addition to equitable relief, Glaukos demands monetary damages, fees
 11 and costs, where allowed.
 12             83.   Defendant’s conduct, as alleged herein, was willful, malicious and
 13 wanton, and undertaken for the purpose of causing injury to Glaukos. As a result,
 14 Glaukos seeks exemplary and punitive damages against Defendant.
 15                                THIRD CAUSE OF ACTION
 16                      (Breach of Confidential Information Agreement)
 17             84.   Glaukos repeats, re-alleges, and incorporates by reference each of the
 18 allegations of paragraphs 1 to 60 as if set forth fully herein.
 19             85.   As a condition of employment at Glaukos, all employees—including the
 20 Defendant—certify and agree to be bound by the terms of the Confidential Information
 21 Agreement. The Confidential Information Agreement outlines the duties that current
 22 and former employees owe to Glaukos with regard to valuable confidential
 23 information they receive on account of their positions at Glaukos.
 24             86.   Defendant was bound by and agreed to be bound by the Confidential
 25 Information Agreement during the acts described in this complaint before and after her
 26 departure.
 27             87.   Paragraph 3 of the Confidential Information Agreement forbids any
 28 former employee “without the prior written consent” from “divulg[ing] to
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  1 unauthorized persons, or us[ing] for any unauthorized purpose, either during or after
  2 the term of my employment, any information, matter, or thing of a secret, confidential
  3 or private nature (‘Confidential Information’) connected with the business of the
  4 Company.”
  5             88.   Defendant breached the Confidential Information Agreement by secretly
  6 downloading and taking confidential information for her own post-employment access
  7 and use. This prohibited access to Glaukos’s confidential information was not done in
  8 the course of performing her duties as an employee of Glaukos. Nor did the Defendant
  9 obtain Glaukos’s prior written consent.
 10             89.   Paragraph 4 of the Confidential Information Agreement requires former
 11 employees, upon termination of their employment, to “surrender[] to the Company
 12 upon termination of my employment with the Company, or upon request by the
 13 Company, at any other time either during or after the termination of such employment”
 14 all confidential information, including “[a]ll notes, memoranda, reports, drawings,
 15 blueprints, manuals, materials, data and other papers and records of every kind which
 16 shall come into my possession at any time after the commencement of my employment
 17 with the Company, relating to any Inventions or Confidential Information shall be the
 18 sole and exclusive property of the Company.”
 19             90.   Defendant breached the Confidential Information Agreement by refusing
 20 to surrender and retaining Glaukos’s confidential and proprietary information for her
 21 own post-employment access, use, and disclosure.
 22             91.   Paragraph 1 of the Confidential Information Agreement provides that the
 23 Defendant will not, during her employment, “directly or indirectly participate in, be
 24 employed by, consult for or assist any business which is a current or potential supplier,
 25 customer or competitor of the Company.”
 26             92.   Defendant breached the Confidential Information Agreement by, among
 27 other things, preparing and executing a plan to steal confidential Glaukos data and
 28 documents during her employment at Glaukos to assist her new employer in its
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  1 competitive activities; and improperly using her access to Glaukos’s customers and
  2 contacts to solicit business away from Glaukos while still employed at Glaukos.
  3             93.   Glaukos was damaged by Defendant’s breaches, including by the loss of
  4 confidential information taken by the Defendant and the loss of customers to
  5 Defendant’s new employer, a competitor of Glaukos. Additionally, upon information
  6 and belief, Defendant has used and will continue to use Glaukos’s information to
  7 further the goals of her employment with Alcon, which is competing with Glaukos.
  8                               FOURTH CAUSE OF ACTION
  9                       (Breach of Fiduciary Duties & Duty of Loyalty)
 10             94.   Glaukos repeats, re-alleges, and incorporates by reference each of the
 11 allegations of paragraphs 1 to 60 as if set forth fully herein.
 12             95.   By virtue of her employment and responsibilities at Glaukos, and her
 13 status as an agent of Glaukos, Defendant owed Glaukos a duty of undivided loyalty
 14 and certain fiduciary duties. At all times, Defendant was duty bound to act with the
 15 utmost good faith and in the best interests of Glaukos.
 16             96.   As alleged above, Defendant engaged in gross misconduct in violation of
 17 her fiduciary duties and the duty of loyalty to Glaukos by, among other things,
 18 improperly using her access to Glaukos’s customers and contacts to solicit business
 19 away from Glaukos while still employed at Glaukos.
 20             97.   Defendant knowingly acted in a bad-faith manner adverse to Glaukos’s
 21 best interests and inconsistent with her fiduciary duties and the duty of undivided
 22 loyalty. As alleged above, Defendant knew that her solicitation of Glaukos’s current
 23 customers was prohibited and would have been problematic for her if discovered, and
 24 in an effort to conceal her conduct, she chose not to include Glaukos personnel in those
 25 communications.
 26             98.   Glaukos did not give informed consent to Defendant’s conduct.
 27             99.   Glaukos was harmed by Defendant’s actions and such actions were a
 28 substantial factor in causing Glaukos’s harm.
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  1             100. As a proximate result of the Defendant’s actions, Glaukos has suffered,
  2 and will continue to suffer, damages in an amount to be proven at trial.
  3             101. Defendant’s acts were undertaken intentionally and in conscious
  4 disregard both of Glaukos’s rights and of the fiduciary duties and duty of loyalty that
  5 Defendant owed to Glaukos. Defendant’s acts were malicious, oppressive, and/or
  6 fraudulent. Therefore, Glaukos should be awarded punitive damage and exemplary
  7 damages sufficient to punish Defendant and to deter similar conduct in the future.
  8                                 FIFTH CAUSE OF ACTION
  9               (Unfair Competition – Cal. Bus. & Prof. Code §§ 17200, et seq.)
 10             102. Glaukos repeats, re-alleges, and incorporates by reference each of the
 11 allegations of paragraphs 1 to 60 as if set forth fully herein.
 12             103. Defendant’s conduct, set forth in the paragraphs above, constitutes one or
 13 more acts that are unfair, unlawful, and/or fraudulent within the meaning of the Unfair
 14 Competition Law of California, Cal. Bus. & Prof. Code §§ 17200, et seq.
 15             104. Defendant has engaged in conduct that is unfair under the various tests
 16 for unfairness recognized by courts applying the Unfair Competition Law. This
 17 conduct, described elsewhere in this Complaint includes, but is not limited to:
 18 obtaining Glaukos’s information for post-employment access, use, and disclosure in
 19 violation of Defendant’s written promise not to do so; falsely stating that Defendant
 20 did not retain Glaukos property or data at the end of their employment; and—while
 21 still employed by Glaukos—utilizing improper and unethical means to hoard
 22 Glaukos’s confidential information for her private, post-employment use, thereby
 23 betraying her duty of undivided loyalty to her then-employer. Defendant impeded
 24 and/or attempted to impede competition in a manner inconsistent with the legislative
 25 goals reflected by the Unfair Competition Law, and engaged in conduct that is illegal,
 26 immoral, unethical, oppressive, unscrupulous, and/or substantially injurious to
 27 Glaukos.
 28             105. Defendant has also engaged in conduct that is fraudulent. Defendant’s
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  1 fraudulent conduct, as described elsewhere in this Complaint included, but is not
  2 limited to: feigning compliance with the Confidential Information Agreement and its
  3 post-employment restrictions on Defendant’s use of confidential information; and
  4 making false statements to employees of Glaukos regarding Defendant’s compliance
  5 with the terms of the confidentiality agreement and regarding their plans to work for
  6 Alcon, a competitor of Glaukos.
  7             106. Defendant has engaged in conduct that is unlawful. Defendant violated
  8 California Penal Code Section 502 by, among other things, knowingly and without
  9 permission (1) accessing, taking, copying, and making use of data from computers,
 10 computer systems, and computer networks; (2) accessing or causing to be accessed
 11 computers, computer systems, and computer networks; (3) and using computer data in
 12 order to wrongfully obtain money, property, or data. Glaukos is the owner of those
 13 computers, computer systems, computer networks, or data and has suffered damage
 14 by Defendant’s violation this law.
 15             107. Glaukos has suffered an injury in fact and lost money and/or property as
 16 a result of Defendant’s unfair, unlawful, and fraudulent business practices.
 17             108. Defendant’s unfair, unlawful, and fraudulent conduct as described above
 18 poses a serious and continuing threat to Glaukos.
 19             109. If Defendant is allowed to continue her unfair, unlawful, and fraudulent
 20 acts, Glaukos will suffer further immediate and irreparable injury, loss or damage. In
 21 the absence of a permanent injunction as prayed for below, Defendant will continue to
 22 engage in fraudulent business practices to her profit, her new employer’s benefit, and
 23 Glaukos’s detriment.
 24             110. In order to prevent her unjust enrichment at the expense and detriment of
 25 Glaukos, Defendant should be required pursuant to Cal. Bus. & Prof. Code § 17203 to
 26 make full restitution to Glaukos. Defendant also should be permanently enjoined from
 27 continuing her violations and the ongoing detrimental effects thereof.
 28
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  1                                   PRAYER FOR RELIEF
  2             WHEREFORE, Glaukos requests the following relief:
  3             1.   An order in favor of Glaukos and against Defendant on all of Glaukos’s
  4 claims asserted in the Complaint;
  5             2.   The issuance of a temporary restraining order, preliminary injunction, and
  6 final, permanent injunction against Defendant as follows:
  7                  A.    That Defendant be preliminarily and permanently enjoined from
  8                        disclosing or utilizing for any purpose Glaukos’s trade secrets and
  9                        confidential information;
 10                  B.    That Defendant be directed to immediately return to Glaukos any
 11                        and all of Glaukos’s trade secrets and confidential information in
 12                        her possession, custody, and control;
 13                  C.    That, pursuant to the Defend Trade Secrets Act, 18 U.S.C.
 14                        § 1836(b)(2)(A), Glaukos or an authorized representative may
 15                        seize Defendant’s home and business computers (including laptops
 16                        and desktops), mobile telephones, memory devices, electronic data
 17                        storage media, “cloud”-based file storage accounts, personal email
 18                        accounts, and hardcopy documents to search, at Defendant’s
 19                        expense, for Glaukos’s confidential information (and other
 20                        property belonging or relating to Glaukos) and to arrange for the
 21                        deletion of any and all such confidential information from those
 22                        computers, media, devices, and email accounts; and
 23                  D.    That pending delivery to Glaukos of the materials described in
 24                        Paragraph 2(C) of this Prayer for Relief, Defendant be enjoined and
 25                        restrained from destroying: (i) any electronic or hard copy
 26                        document, file, record, information, or other property containing
 27                        any of Glaukos’s confidential information; and (ii) any data
 28                        contained on any of her home and business computers (including
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  1                         laptops and desktops), memory devices, mobile telephones,
  2                         electronic data storage media, “cloud”-based file storage accounts,
  3                         or personal email accounts.
  4             3.    An award requiring that Glaukos’s trade secrets and confidential
  5 information be returned to Glaukos;
  6             4.    An award requiring Defendant to divulge the identity of the individuals,
  7 groups, and/or companies to whom she has disclosed Glaukos’s trade secrets and
  8 confidential information;
  9             5.    An award requiring Defendant to account for and pay to Glaukos all
 10 ill-gotten gains, profits, and savings obtained or derived from her improper conduct;
 11             6.    Compensatory damages to be proven at trial in this action and an order
 12 that Defendant pay Glaukos double damages on its claim for relief pursuant to Cal.
 13 Civ. Code § 3426.3 and 18 U.S.C. § 1836(b)(3);
 14             7.    Punitive damages in an amount to be determined at trial in this action for
 15 Defendant’s intentional, tortious, and wrongful conduct;
 16             8.    Other monetary damages in an amount to be determined at trial in this
 17 action, including Glaukos’s actual losses; Defendant’s unjust enrichment; exemplary
 18 damages for willful and malicious misappropriation; expectation, consequential, and
 19 incidental damages resulting from Defendants’ breaches; disgorgement of
 20 compensation paid by Glaukos to Defendant during the time period during which
 21 Defendant breached her fiduciary duties and duty of loyalty; disgorgement of
 22 compensation received by Defendant from other entities, including her new employer,
 23 as a result of breaches of her fiduciary duties and duty of loyalty; and restitution;
 24             9.    Reasonable costs and expenses incurred in this action, including
 25 attorneys’ fees and investigation costs incurred as a result of Defendant’s failures to
 26 disclose her wrongful conduct, to the full extent permitted by law;
 27             10.   Pre-judgment interest on all such damages, monetary or otherwise; and
 28             11.   For all other relief, legal or injunctive, as this Court deems appropriate.
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  1                                       JURY DEMAND
  2             Glaukos hereby demands a trial by jury on all claims (or any aspect thereof)
  3 contained in its Complaint as to which a trial by jury is proper.
  4
  5 Dated: October 7, 2016                    HUESTON HENNIGAN LLP
  6
  7
                                              By:
  8
                                                    John C. Hueston
  9
                                                    Attorneys for Plaintiff
 10                                                 Glaukos Corporation
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